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              IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                      CENTRAL DIVISION




 UNITED STATES OF AMERICA,
         Plaintiff,                                       MEMORANDUM DECISION AND
                                                          ORDER DENYING DEFENDANT
                                                          GARRETT’S MOTION TO
                                                          CONTINUE TRIAL


                 vs.


 BRADLEY GRANT KITCHEN, et al.,                           Case No. 2:07-CR-895 TS
         Defendants.




       This matter comes before the Court on Defendant Garrett’s Motion to Continue. For the

reasons discussed below, the Court will deny the Motion.

                                       I. BACKGROUND

       Defendant Garrett’s motion is based on three primary grounds: (1) the government’s

delay in designating its expert witness; (2) the government’s delay in providing documents; and

(3) the government’s delay in producing witness and exhibit lists. The first and third grounds

have now been resolved. The government no longer seeks to introduce the testimony of Ms.

Burnham and the government has indicated that it will provide to defense counsel copies of the

documents it intends to use as part of its case-in-chief no later than August 7, 2008.




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Thus, it is only the government’s recent production of documents which the Court will consider

in deciding this Motion.

       As noted in the government’s Response to Defendants’ Motions, since July 1, 2008, the

government has produced over 10,000 pages of documents to Defendants. The government

intends to produce additional documents, consisting of approximately 250 pages, on August 5

and 6, 2008. Defendant Garrett argues, based on this recent production of documents, that he

will be unable to adequately prepare for trial and requests a continuance. Defendant Clarke

objects to Defendant Garrett’s Motion. Defendant Clarke argues that, rather than granting a

continuance, the Court should prevent the government from using the recently disclosed

documents.1 With this background in mind, the Court turns to the merits of Defendant’s Motion.

                                          II. DISCUSSION

       The Court considers several factors in determining whether a continuance is warranted:

       the diligence of the party requesting the continuance; the likelihood that the
       continuance, if granted, would accomplish the purpose underlying the party’s
       expressed need for the continuance; the inconvenience to the opposing party, its
       witnesses, and the court resulting from the continuance; the need asserted for the
       continuance and the harm that [Defendant] might suffer as a result of the district
       court’s denial of the continuance.2

A.     DILIGENCE

       Here there is evidence that Defendant Garrett has demonstrated a lack of diligence. In

making this finding, there are a number of factors worth noting. First, Defendant Garrett filed a




       1
        It should be noted that neither Defendant Clarke nor Defendant Garrett have moved to
exclude any of the recently disclosed documents by way of motion. See Docket Nos. 222 and
235. Defendant Garrett has, however, again moved to continue the trial. See Docket No. 234.
       2
           United States v. West, 828 F.2d 1468, 1470 (10th Cir. 1987).

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Motion to Suppress in this case.3 However, Defendant failed to submit a memorandum in

support of his motion and the Court was required to decide the issue without his input.4 Second,

Defendant Garrett failed to submit a memorandum after the Court conducted the James hearing

and, again, the Court was required to decide the issue without the benefit of argument by

Defendant Garrett.5 Third, at the hearing on Defendants’ Motions to Suppress, counsel for

Defendant expressed his desire to go to trial as scheduled.6 Indeed, Defendant’s counsel echoed

the sentiments of another counsel who “zealously insist[ed] upon a trial.”7 Finally, Defendant

Garrett waited until shortly before trial to ask for this continuance.8 The Court cannot ignore

these facts in considering the diligence of Defendant Garrett and his counsel.

B.     USEFULNESS OF THE CONTINUANCE

       The Court cannot doubt that a continuance would be useful. As stated, the government

has produced a number of documents in this case, many within the last several weeks. It cannot

be denied that additional time would be helpful in reviewing these documents.




       3
           Docket No. 82.
       4
           Docket No. 212.
       5
           Docket No. 211.
       6
           James Hearing Trans. 151:15-23.
       7
           Id. 151:12-13.
       8
        United States v. Rivera, 900 F.2d 1462, 1475 (10th Cir. 1990) (finding that request to
continue trial made only five days before trial showed lack of diligence).

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C.     INCONVENIENCE

       Granting a continuance would severely inconvenience the Court, the witnesses, the

government, the other Defendants, and potential jurors. As the Tenth Circuit recognized:

       [A]ny continuance granted practically on the eve of trial inevitably will disrupt the
       schedules of the court, the opposing party, and the witnesses who have been
       subpoenaed or who have voluntarily arranged their schedules to attend the trial.
       When, as here, a jury trial is involved, there is additional potential inconvenience
       to jurors and to the court.9

       The trial setting for this case has been in place since February 5, 2008.10 The Court has

now set aside at least four weeks of its calendar for this trial. The parties, no doubt, have been

engaged in serious trial preparation for weeks. Thus, a continuance would inconvenience all

those involved. Further, the Court notes that this is a multi-defendant case and only Defendant

Garrett has requested a continuance. The Court cannot ignore the other Defendants’ desire to go

to trial as scheduled. Defendant Clarke has objected to Defendant’s Motion11 and while

Defendant Cloward has not filed a formal objection, he has made clear his desire to go to trial.

Since the Court has denied Defendants’ Motions to Sever,12 the Court must consider the rights of

the other Defendants before making a decision to continue the trial.13 Finally, Defendant Garrett

does not specify the amount of additional time needed to prepare. “Because of defendant’s

failure to specify the additional time needed, the resulting uncertainty as to the extent to which


       9
           Id.
       10
            Docket No. 59.
       11
            Docket No. 225.
       12
            Docket No. 213.
       13
         United States v. Scott, 37 F.3d 1564, 1576 (10th Cir. 1994) (“[I]n a conspiracy trial it is
preferred that persons charged together be tried together.”).

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the continuance would have inconvenienced the government, its witnesses, and the court must be

resolved against defendant.”14

D.     NEED AND PREJUDICE

       The final factor to consider is the need asserted for the continuance and the harm that

Defendant might suffer as a result of the Court’s denial of the continuance. Here, Defendant has

failed to present any evidence that he has been prejudiced as a result of the recent disclosure of

documents by the government. Defendant only makes generalized arguments that the

government’s recent disclosures will prejudice him, but points to nothing specific. The Court

finds that Defendant has not met his burden to show prejudice.

       Based on the above, the Court finds that a continuance is not warranted. The Court will,

however, allow Defendants to file a motion in limine seeking to exclude any document or set of

documents disclosed to them after August 1, 2008,15 on the basis that they are prejudiced by the

recent disclosure of that particular document or set of documents.16 Any such motion must be

filed by Defendants by August 8, 2008, at 5:00 p.m.17 The government must respond by August

11, 2008, at 5:00 p.m.18




       14
            Rivera, 900 F.2d at 1476.
       15
         The Court finds that Defendants have had sufficient time to review documents which
were disclosed to them on or before August 1, 2008.
       16
            Defendant Garrett has already filed one such motion. See Docket No. 234.
       17
            All other motions in limine are due by August 6, 2008.
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                               III. CONCLUSION

    It is therefore

    ORDERED that Defendant Garrett’s Motion to Continue (Docket No. 220) is DENIED.

    DATED August 6, 2008.

                                     BY THE COURT:


                                     _____________________________________
                                     TED STEWART
                                     United States District Judge




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